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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

WANDA TIMMS,
Plaintiff, CASE No. 18 cv 1702-RJD-ST

- against -

NOTICE OF APPEARANCE
CITIBANK, N.A.,

Defendant.

 

 

To the Clerk of this Court and all parties of record:

ENTER my appearance as counsel in this case for defendant Citibank, N.A. I
certify that I am admitted to practice in this Court.
Dated: New York, New York

May 24, 2018
ZEICHNER ELLMAN & KRAUSE LLP

  

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TO: Counsel for plaintiff by ECF
